                               UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION
                              DOCKET NO. 3:20-cv-00488-FDW-DSC
    AYMAN KAMEL and                                       )
    5CHURCH ATLANTA, INC.,                                )
                                                          )
           Plaintiffs,                                    )
                                                          )
    vs.                                                   )                          ORDER
                                                          )
    ALEJANDRO TORIO,                                      )
                                                          )
           Defendant.                                     )


          THIS MATTER is before the Court following Plaintiffs’ failure to response to this Court’s

Order to show cause why the complaint against Defendant should not be dismissed for failure to

prosecute. (Doc. No. 3). The Court ordered Plaintiffs, who are represented by counsel, to show

cause by April 29, 2021, why service was not completed within the required time limit, or to

provide an affidavit of service within that time and an appropriately supported motion under Rule

55 of the Federal Rules of Civil Procedure. Neither Plaintiffs nor their counsel filed any response,

and the time for doing so has long expired. In fact, more than one year has elapsed since Plaintiffs

filed the Complaint, and to date, Plaintiffs have not submitted any pleading or taken any action in

prosecution of this case. It appears that Plaintiffs—and their counsel—have abandoned this

action.1



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  The Court is particularly troubled that Plaintiffs’ counsel did not respond to the Show Cause Order. If service had
not been timely completed, an appropriate response could have included a request for additional time or a voluntary
dismissal pursuant to Fed. R. Civ. P. 41(a). If a change in representation had occurred, counsel should have filed a
Motion to Withdraw. Complete silence in response to an order of this Court is concerning, and counsel is cautioned
to take any necessary steps in the future to comply with similar directives or the Court may not be so lenient in
excusing counsel’s non-response. Notably, this is the second case on this Court’s docket where this counsel has
filed a complaint, failed to prosecute the case, and simply not responded to a show cause order of this Court. See
Bryan v. Orion Capital Solutions, 3:20-cv-226 (W.D.N.C.).



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      IT IS THEREFORE ORDERED that for the reasons stated in the Show Cause Order (Doc.

No. 3), this matter is DISMISSED WITHOUT PREJUDICE. The CLERK OF COURT is directed

to CLOSE THE CASE.

      IT IS SO ORDERED.



                              Signed: November 4, 2021




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